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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF ILLINOIS

 UNITED STATES OF AMERICA,

 Plaintiff,

 v.

 BRYANT GILES,

 Defendant.                                                No. 10-30084-DRH


                                      ORDER

 HERNDON, Chief Judge:

              Before the Court is Attorney Turner A. Rouse’s Motion for Leave to

 Withdraw as Attorney of Record (Doc. 62). Attorney Rouse was originally appointed

 as counsel for Defendant Giles pursuant to 18 U.S.C. § 3006A. However, since

 Rouse’s appointment, Defendant Giles has retained counsel and that counsel has

 recently entered his notice of appearance (Doc. 67). As Defendant Giles has now

 retained counsel, Attorney Rouse asks that he be allowed to withdraw from the case.

 Based on the reasons set forth in the motion, the Court GRANTS the Motion for

 Leave to Withdraw as Attorney of Record (Doc. 62).         Accordingly, the Court

 WITHDRAWS Turner A. Rouse as attorney of record for Defendant Giles.

              IT IS SO ORDERED. Signed this 21st day of December, 2010.

                                                             David R. Herndon
                                                             2010.12.21
                                                             13:37:12 -06'00'
                                             Chief Judge
                                             United States District Court
